                   Case: 1:15-cv-00650 Document #: 18 Filed: 01/22/15 Page 1 of 4 PageID #:496
                                                                                                                 CLOSED
                                     U.S. District Court [LIVE]
                                  Western District of Texas (Austin)
                           CIVIL DOCKET FOR CASE #: 1:14−cv−00972−LY

Elliott et al v. Mission Trust Services, LLC et al                         Date Filed: 10/28/2014
Assigned to: Judge Lee Yeakel                                              Date Terminated: 01/07/2015
Case in other court: Northern District of Illinois, Eastern Division,      Jury Demand: None
                       1:13−cv−7770                                        Nature of Suit: 190 Contract: Other
Cause: Motion to Quash                                                     Jurisdiction: Diversity
Plaintiff
Scott A. Elliott

Plaintiff
Ming−Hang Ho

Plaintiff
The Roxana H. Cupples Revocable Inter
Vivos Trust


V.
Defendant
Mission Trust Services, LLC                                  represented by James R. Old
                                                                            Jay Old &Associates
                                                                            3560 Delaware, Suite 308
                                                                            Beaumont, TX 77706
                                                                            (409) 241−7252
                                                                            Fax: (409) 419−1733
                                                                            Email: jay.old@jroldlaw.com
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED

Defendant
Christopher C. Finlay                                        represented by James R. Old
                                                                            (See above for address)
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED

Defendant
The Corporation Trust Company

Defendant
Michael T. Hosmer


V.
                    Case: 1:15-cv-00650 Document #: 18 Filed: 01/22/15 Page 2 of 4 PageID #:497
Respondent
Mission Trust Services, LLC                               represented by James R. Old
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

Counter Plaintiff
Mission Trust Services, LLC                               represented by James R. Old
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED


V.
Counter Defendant
Scott A. Elliott

Counter Defendant
Ming−Hang Ho

Counter Defendant
The Roxana H. Cupples Revocable Inter
Vivos Trust

Movant
David Wieland                                             represented by Brandon Duane Gleason
                                                                         Skelton &Woody
                                                                         248 Addie Roy Rd., Suite B−302
                                                                         Austin, TX 78746
                                                                         (512)651−7000
                                                                         Fax: 512/651−7001
                                                                         Email: bgleason@skeltonwoody.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                          J. Hampton Skelton
                                                                          Skelton &Woody
                                                                          248 Addie Roy Road − Bldg B−302
                                                                          Austin, TX 78746
                                                                          (512) 651−7000
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                                                                          Email: hskelton@skeltonwoody.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED


 Date Filed           #   Docket Text

 10/28/2014          Ï1   Non−Party David Wieland's MOTION for protective Order and MOTION to Quash Subpoena to
                          Testify at a Deposition by David Wieland. (Attachments: # 1 Proposed Order, # 2 Exhibits, # 3
             Case: 1:15-cv-00650 Document #: 18 Filed: 01/22/15 Page 3 of 4 PageID #:498
                    Civil Cover Sheet)(afd) (Additional attachment(s) added on 10/29/2014: # 4 Receipt) (afd).
                    (Entered: 10/29/2014)

10/30/2014    Ï2    ORDER REFERRING 1 Motion for Protective Order and Motion to Quash Subpoena to Testify
                    at a Deposition, to Magistrate Judge Andrew W. Austin. Signed by Judge Lee Yeakel. (kkc)
                    (Entered: 10/30/2014)

11/03/2014    Ï3    Response in Opposition to Motion, filed by Christopher C. Finlay, Mission Trust Services, LLC,
                    re 1 MOTION to Quash filed by Movant David Wieland (Attachments: # 1 Proposed Order
                    Denying Wieland's Mtn for Protective Order, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5
                    Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit
                    J, # 12 Exhibit K, # 13 Exhibit L)(Old, James) (Entered: 11/03/2014)

11/03/2014    Ï4    MOTION to Transfer Case by Christopher C. Finlay, Mission Trust Services, LLC.
                    (Attachments: # 1 Proposed Order Granting Mission Parties Mtn to Transfer Case, # 2 Exhibit A,
                    # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9
                    Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15
                    Exhibit N, # 16 Exhibit O). Motions referred to Judge Andrew W. Austin. (Old, James) (Entered:
                    11/03/2014)

11/03/2014    Ï5    CERTIFICATE OF SERVICE by Christopher C. Finlay, Mission Trust Services, LLC 4
                    MOTION to Transfer Case , 3 Response in Opposition to Motion, (Old, James) (Entered:
                    11/03/2014)

11/03/2014     Ï    NOTICE to All Attorneys of Record that the CASE TYPE has been changed from MC to CV,
                    and the case number has been changed from 1:14−mc−972−LY to 1:14−cv−972−LY. Please use
                    new case type "CV" on all future pleadings. (kkc) (Entered: 11/03/2014)

11/10/2014    Ï6    REPLY to Response to Motion, filed by David Wieland, re 1 MOTION to Quash filed by Movant
                    David Wieland (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                    D)(Skelton, J.) (Entered: 11/10/2014)

11/10/2014    Ï7    RESPONSE to Motion, filed by David Wieland, re 4 MOTION to Transfer Case filed by Mission
                    Trust Services, LLC, Defendant Christopher C. Finlay (Attachments: # 1 Exhibit A, # 2 Proposed
                    Order)(Skelton, J.) (Entered: 11/10/2014)

11/11/2014    Ï8    REPLY to Response to Motion, filed by Christopher C. Finlay, Mission Trust Services, LLC, re 1
                    MOTION to Quash filed by Movant David Wieland, 4 MOTION to Transfer Case filed by
                    Mission Trust Services, LLC, Defendant Christopher C. Finlay (Attachments: # 1 Exhibit A)(Old,
                    James) (Entered: 11/11/2014)

11/13/2014    Ï9    MOTION to Appear Pro Hac Vice by James R. Old (William G. Tishkoff) ( Filing fee $ 100
                    receipt number 0542−6980670) by on behalf of Christopher C. Finlay, Mission Trust Services,
                    LLC.. Motions referred to Judge Andrew W. Austin. (Old, James) (Entered: 11/13/2014)

11/13/2014   Ï 10   MOTION to Appear Pro Hac Vice by James R. Old (Sarah Wixson) ( Filing fee $ 100 receipt
                    number 0542−6981051) by on behalf of Christopher C. Finlay, Mission Trust Services, LLC..
                    Motions referred to Judge Andrew W. Austin. (Old, James) (Entered: 11/13/2014)

11/21/2014   Ï 11   MOTION to Expedite (Motion for Expedited Consideration of Motion to Transfer) by
                    Christopher C. Finlay, Mission Trust Services, LLC. (Attachments: # 1 Proposed Order, # 2
                    Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit
                    G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K). Motions referred to Judge
                    Andrew W. Austin. (Old, James) (Entered: 11/21/2014)

11/24/2014     Ï    NOTICE to Attorney James R. Old that the CASE TYPE has changed from MC to CV, and the
                    case number has changed from 1:14−mc−972−LY to 1:14−cv−972−LY. Please use new case type
             Case: 1:15-cv-00650 Document #: 18 Filed: 01/22/15 Page 4 of 4 PageID #:499
                    "CV" on all future pleadings. (kkc) (Entered: 11/24/2014)

11/24/2014   Ï 12   *** DOCKETING ERROR − PLEASE DISREGARD − PRO HAC VICE MOTION FOR
                    BOTH ATTORNEYS WERE FILED ON 11/13/2014 *** Letter to William G. Tishkoff, Sarah
                    L. Wixson re: non−admitted status. Please note that attorneys will be added to the court docket
                    only if they are admitted to practice in this Court, or by Court Order. (kkc) Modified docket text
                    on 11/24/2014 (kkc). (Entered: 11/24/2014)

11/26/2014   Ï 13   RESPONSE to Motion, filed by David Wieland, re 11 MOTION to Expedite (Motion for
                    Expedited Consideration of Motion to Transfer) filed by Mission Trust Services, LLC, Defendant
                    Christopher C. Finlay (Attachments: # 1 Proposed Order)(Skelton, J.) (Entered: 11/26/2014)

12/02/2014   Ï 14   REPLY to Response to Motion, filed by Christopher C. Finlay, Mission Trust Services, LLC, re
                    11 MOTION to Expedite (Motion for Expedited Consideration of Motion to Transfer) filed by
                    Mission Trust Services, LLC, Defendant Christopher C. Finlay (Attachments: # 1 Exhibit A)(Old,
                    James) (Entered: 12/02/2014)

12/12/2014   Ï 15   REPORT AND RECOMMENDATIONS that the Court Grant in Part and Deny in Part Mission
                    Parties' 1 Motion to Quash and for Protective Order and 4 Motion to Transfer Case. Signed by
                    Judge Andrew W. Austin. (klw) (Entered: 12/15/2014)

12/12/2014     Ï    CASE NO LONGER REFERRED to Magistrate Judge Andrew W. Austin. (klw) (Entered:
                    12/15/2014)

01/07/2015   Ï 16   ORDER ADOPTING REPORT AND RECOMMENDATIONS for 15 Report and
                    Recommendations. Signed by Judge Lee Yeakel. (dm) (Entered: 01/08/2015)

01/07/2015   Ï 17   FINAL JUDGMENT. Signed by Judge Lee Yeakel. (dm) (Entered: 01/08/2015)
